

John v New York City Health &amp; Hosps. Corp. (2021 NY Slip Op 01123)





John v New York City Health &amp; Hosps. Corp.


2021 NY Slip Op 01123


Decided on February 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 18, 2021

Before: Renwick, J.P., Kern, Singh, Moulton, JJ. 


Index No. 805011/15 Appeal No. 13161 Case No. 2019-4633 

[*1]Harold John, Plaintiff-Respondent,
vNew York City Health &amp; Hospitals Corporation, Defendant-Appellant.


James E. Johnson, Corporation Counsel, New York (Tahirih M. Sadrieh of counsel), for appellant.
Levine &amp; Grossman, Mineola (Brian C. Lockhart of counsel), for respondent.



Order, Supreme Court, New York County (George J. Silver, J.), entered April 26, 2019, which denied defendant's motion for summary judgment dismissing the complaint, unanimously modified, on the law, to grant the motion as to the claims for lack of informed consent and malpractice during surgery, and otherwise affirmed, without costs.
In this medical malpractice action, defendant New York City Health and Hospitals Corporation made a prima facie showing of entitlement to summary judgment establishing that it did not depart from good and accepted practice in performing plaintiff's surgery or in its postoperative care of plaintiff. In opposition to the motion, plaintiff's expert raised issues of fact as to whether there were departures from good and accepted practice in the postoperative care and treatment of plaintiff that were a proximate cause of plaintiff's injuries (see generally Ayers v Mohan, 182 AD3d 479, 480 [1st Dept 2020]). In view of the conflicting expert opinions, summary judgment in favor of defendant with respect to plaintiff's claim regarding postsurgical care was properly denied (see generally Cregan v Sachs, 65 AD3d 101, 109 [1st Dept 2009]).
Since plaintiff's expert did not address the claims for lack of informed consent and malpractice during surgery in opposition to defendant's motion, and plaintiff indicates upon this appeal that he is not pursuing those claims, they are dismissed. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 18, 2021








